Case 3:10-cr-30066-DRH     Document 52     Filed 04/26/11   Page 1 of 2   Page ID #100




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 SCOTT T. WELDON and
 ANDREA R. FIELDS,

 Defendants                                                 No. 10-30066-DRH



                                       ORDER

 HERNDON, Chief Judge:

              Now before the Court is Defendant Fields’ April 22, 2011 motion to

 continue trial proceeding (Doc. 51). Defendant states that she needs additional time

 to review the not yet completed presentence investigation report and to examine her

 status and rights. The Government does not object. The Court being fully advised

 in the premises finds that Fields needs additional time to review and to examine her

 options. The Court finds that pursuant to 18 U.S.C. § 3161(h)(7)(A), the ends of

 justice served by the granting of such continuance outweigh the best interests of the

 public and all Defendants in a speedy trial. The Court also finds that to deny a

 continuance of the matter would result in a miscarriage of justice.

              Therefore, the Court GRANTS Defendant Fields’ motion to continue trial



                                      Page 1 of 2
Case 3:10-cr-30066-DRH      Document 52     Filed 04/26/11    Page 2 of 2    Page ID #101




 proceeding (Doc. 51). The Court CONTINUES the jury trial scheduled for May 2,

 2011 to Tuesday, July 5, 2011 at 9:00 a.m. The time from the date the original

 motion was filed, April 22, 2011, until the date to which the trial is rescheduled, July

 5, 2011, is excludable time for the purposes of speedy trial.

              Should either, party believe that a witness will be required to travel on

 the Justice Prisoner and Alien Transportation System (JPATS) in order to testify at

 the trial of this case, a writ should be requested at least two months in advance.

              IT IS SO ORDERED.                                             David R.
                                                                            Herndon
              Signed this 25th day of April, 2011.                          2011.04.25
                                                                            20:10:22 -05'00'
                                                       Chief Judge
                                                       United States District Court




                                       Page 2 of 2
